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 8                      UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10                                  EASTERN DIVISION
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12   KENYON DARRELL BROWN,                       )   No. 5:21-cv-01252-RGK (JDE)
                                                 )
13                                               )
                       Plaintiff,                )   JUDGMENT
14                                               )
                          v.                     )
                                                 )
15   WEST VALLEY DETENTION                       )
     CENTER, et al.,                             )
16                                               )
                                                 )
17                                               )
                       Defendants.
                                                 )
18
19
20         Pursuant to the Order Dismissing First Amended Complaint,

21         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that

22   Plaintiff shall take nothing and this action is dismissed without prejudice.

23
24   Dated: October 5, 2021

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26                                               R. GARY KLAUSNER
27                                               United States District Judge
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